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                               UNITED STATES DISTRICT COURT
20                           NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of             Case No. 4:20-cv-5146-YGR-SVK
22    themselves and all others similarly situated,
                                                      GOOGLE      LLC’S ADMINISTRATIVE
23           Plaintiffs,                              MOTION TO SEAL PORTIONS OF
                                                      GOOGLE’S SUBMISSION IN RESPONSE
24                                                    TO DKT. 749
             v.
25                                                      Judge: Hon. Susan van Keulen, USMJ
      GOOGLE LLC,
26
             Defendant.
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28

                                                                      Case No. 4:20-cv-5146-YGR-SVK
                                                  GOOGLE LLC’S SUBMISSION IN RESPONSE TO DKT. 749
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 1     I.   INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5, Defendant Google LLC (“Google”)
 3 respectfully seeks to seal certain portions of Google’s Submission in Response to Dkt. 749 (“Google’s
 4 Submission”), which contains non-public, highly sensitive and confidential business information
 5 that could affect Google’s competitive standing and may expose Google to increased security risks
 6 if publicly disclosed, including various types of Google’s internal projects, data signals, and logs,
 7 and their proprietary functionalities. This information is highly confidential and should be protected.
 8          This Administrative Motion pertains for the following information contained in Google’s
 9 Submission:
10     Document                    Portions to be Filed Under Seal                     Party Claiming
                                                                                       Confidentiality
11     Google LLC’s           Portions Highlighted in Blue at:                         Google
12     Submission in Response
       to Dkt. 749            Page 1:1-4, 1:6-11, 1:15-22, 1:23-26
13
       Attachment A to             Portions Highlighted in Blue at:                    Google
14     Google’s Submission
                                   Redact in its entirety
15
16
      II.   LEGAL STANDARD
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            A party seeking to seal material must “establish[] that the document, or portions thereof, are
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     privileged, protectable as a trade secret or otherwise entitled to protection under the law” ( i.e., is
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     “sealable”). Civ. L.R. 79-5(b). The sealing request must also “be narrowly tailored to seek sealing
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     only of sealable material.” Id.
21
            In the context of dispositive motions, materials may be sealed in the Ninth Circuit upon a
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     showing that there are “compelling reasons” to seal the information. See Kamakana v. City & Cty.
23
     of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006). However, a party seeking to seal information
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     in a non-dispositive motion must show only “good cause.” Id. at 1179-80. The rationale for the
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     lower standard with respect to non-dispositive motions is that “the public has less of a need for
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     access to court records attached only to non-dispositive motions because these documents are often
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     unrelated, or only tangentially related, to the underlying cause of action” and that as a result “[t]he
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 1 public policies that support the right of access to dispositive motions, and related materials, do not
 2 apply with equal force to non-dispositive materials.” Kamakana, 447 F.3d at 1179; see also TVIIM,
 3 LLC v. McAfee, Inc., 2015 WL 5116721, at *1 (N.D. Cal. Aug. 28, 2015) (“Records attached to non-
 4 dispositive motions are not subject to the strong presumption of access.”) (citation omitted). Under
 5 the “good cause” standard, courts will seal statements reporting on a company’s users, sales,
 6 investments, or other information that is ordinarily kept secret for competitive purposes. See
 7 Hanginout, Inc. v. Google, Inc., 2014 WL 1234499, at *1 (S.D. Cal. Mar. 24, 2014); Nitride
 8 Semiconductors Co. v. RayVio Corp., 2018 WL 10701873, at *1 (N.D. Cal. Aug. 1, 2018) (granting
 9 motion to seal “[c]onfidential and proprietary information regarding [Defendant]’s products” under
10 “good cause” standard) (van Keulen, J.). Although the materials that Google seeks to seal here
11 easily meet the higher “compelling reasons” standard, the Court need only consid er whether these
12 materials meet the lower “good cause” standard.
13 III.     THE ABOVE IDENTIFIED MATERIALS SHOULD ALL BE SEALED
14          Courts have repeatedly found it appropriate to seal documents that contain “business
15 information that might harm a litigant’s competitive standing.” Nixon v. Warner Commc'ns, Inc.,
16 435 U.S. 589, 589-99 (1978). Good cause to seal is shown when a party seeks to seal materials that
17 “contain[] confidential information about the operation of [the party’s] products and that public
18 disclosure could harm [the party] by disclosing confidential technical information.” Digital Reg of
19 Texas, LLC v. Adobe Sys., Inc., 2014 WL 6986068, at *1 (N.D. Cal. Dec. 10, 2014). Materials that
20 could harm a litigant’s competitive standing may be sealed even under the “compelling reasons”
21 standard. See e.g., Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 2015 WL 984121, at
22 *2 (N.D. Cal. Mar. 4, 2015) (information “is appropriately sealable under the ‘compelling reasons’
23 standard where that information could be used to the company’s competitive disadvantage”)
24 (citation omitted). Courts in this district have also determined that motions to seal may be granted
25 as to potential trade secrets. See, e.g. United Tactical Sys., LLC v. Real Action Paintball, Inc.,2015
26 WL 295584, at *3 (N.D. Cal. Jan. 21, 2015) (rejecting argument against sealing “that [the party]
27 ha[s] not shown that the substance of the information . . . amounts to a trade secret”).
28

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 1          Here, Google’s Submission comprises confidential and proprietary information regarding
 2 highly sensitive features of Google’s internal systems and operations that Google does not share
 3 publicly. Specifically, this information provides details related to Google’s internal projects, data
 4 signals, and logs, and their proprietary functionalities. Such information reveals Google’s internal
 5 strategies, system designs, and business practices for operating and maintaining many of its
 6 important services while complying with its legal and privacy obligations.
 7          Public disclosure of the above-listed information would harm Google’s competitive standing
 8 it has earned through years of innovation and careful deliberation, by revealing sensitive aspects of
 9 Google’s proprietary systems, strategies, and designs to Google’s competitors. That alone is a proper
10 basis to seal such information. See, e.g., Free Range Content, Inc. v. Google Inc., No. 14-cv-02329-
11 BLF, Dkt. No. 192, at 3-9 (N.D. Cal. May 3, 2017) (granting Google’s motion to seal certain
12 sensitive business information related to Google’s processes and policies to ensure the integrity and
13 security of a different advertising system); Huawei Techs., Co. v. Samsung Elecs. Co., No. 3:16-cv-
14 02787-WHO, Dkt. No. 446, at 19 (N.D. Cal. Jan. 30, 2019) (sealing confidential sales data because
15 “disclosure would harm their competitive standing by giving competitors insight they do not have”);
16 Trotsky v. Travelers Indem. Co., 2013 WL 12116153, at *8 (W.D. Wash. May 8, 2013) (granting
17 motion to seal as to “internal research results that disclose statistical coding that is not publicly
18 available”).
19          Moreover, if publicly disclosed, malicious actors may use such information to seek to
20 compromise Google’s data sources, including data logs, internal data structures, and internal
21 identifier systems. Google would be placed at an increased risk of cyber security threats. See, e.g.,
22 In re Google Inc. Gmail Litig., 2013 WL 5366963, at *3 (N.D. Cal. Sept. 25, 2013) (sealing
23 “material concern[ing] how users’ interactions with the Gmail system affects how m essages are
24 transmitted” because if made public, it “could lead to a breach in the security of the Gmail system”).
25 The security threat is an additional reason for this Court to seal the identified information.
26          The information Google seeks to redact, including the various types of data sources which
27 include information related to Google’s internal logs and data signals, is the minimal amount of
28 information needed to protect its internal systems and operations from being exposed to not only its

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 1 competitors but also to nefarious actors who may improperly seek access to and disrupt these
 2 systems and operations. The “good cause” rather than the “compelling reasons” standard should
 3 apply but under either standard, Google’s sealing request is warranted.
 4   IV.   CONCLUSION
 5         For the foregoing reasons, the Court should seal the identified portions of Google’s
 6 Submission.
 7
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